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                            EXHIBIT 11
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                         Case No.
      Plaintiffs,
                                                                     0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 10
            TO HAVE THE JURY REVIEW THE ARTICLE AND DOSSIER AND
             FOR THE COURT TO DELIVER PRELIMINARY INSTRUCTIONS
                         PRIOR TO OPENING STATEMENTS

                             “Curiouser and curiouser!” cried Alice.
                                                  -- Lewis Carroll, Alice’s Adventures in Wonderland

                                               Introduction
          Having taken seventeen separate memos written on seventeen different dates and
   published them together into a single PDF file that Defendants called a “Dossier,” Defendants
   now argue that the Court should require the jury in this case to read all seventeen memos in
   advance of the start of trial, despite the fact that the defamatory statements about Plaintiffs are
   contained only in one of the memos. Defendants’ “rationale” for this request is its assertion that,
   because it published the seventeen separate memos in a single PDF file, the separate memos
   were magically transformed into one single document, the whole of which must be presented to
   the jury. This, of course, makes as much sense as instructing a jury that it must read an entire
   copy of the Sunday New York Times from cover-to-cover because a single article that appeared
   somewhere in the Metro section contained defamatory statements about the Plaintiffs.
          In support of this bizarre request, Defendants cite to cases that do not remotely suggest
   that such a procedure is recommended or necessary, including one that would seem to advocate


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   precisely the opposite outcome of what Defendants claim the case says. 1 Because requiring the
   jury to read all seventeen memos at any point in the trial – much less prior to the start of trial –
   would only serve to confuse the jury about the actual facts in dispute (and, undoubtedly, distract
   them from Plaintiffs’ opening statement, which is perhaps Defendants’ real aim), Defendants’
   Motion should be denied.2 In support of this Opposition, Plaintiffs state as follows.
                                                   Facts
          On June 26, 2016, Christopher Steele – who had been hired by Fusion GPS, an
   opposition-research firm working on behalf of the Democratic National Committee and the
   Hillary Clinton campaign to investigate then-candidate Donald Trump’s ties to Russia – authored
   a memo he entitled “COMPANY INTELLIGENCE REPORT 2016/080,” which he sent to
   Fusion GPS on or around that date. In July of 2016, Mr. Steele authored four more memos,
   “COMPANY INTELLIGENCE REPORT 2016/086,” “COMPANY INTELLIGENCE REPORT
   2016/94,” “COMPANY INTELLIGENCE REPORT 2016/095,” and “COMPANY
   INTELLIGENCE REPORT 2016/097.” As each of these memos was written, Mr. Steele sent
   them to Fusion GPS. Mr. Steele authored four more memos in August of 2016, “COMPANY
   INTELLIGENCE REPORT 2016/100,” “COMPANY INTELLIGENCE REPORT 2016/101,”
   “COMPANY INTELLIGENCE REPORT 2016/102,” and “COMPANY INTELLIGENCE
   REPORT 2016/100” which, again, he sent to Fusion GPS as they were written. He wrote three
   more memos in September of 2016 (“COMPANY INTELLIGENCE REPORT 2016/111,”
   “COMPANY INTELLIGENCE REPORT 2016/112,” and “COMPANY INTELLIGENCE
   REPORT 2016/113”), which were transmitted to Fusion GPS as they were written. He wrote
   and transmitted four more memos in October of 2016 (“COMPANY INTELLIGENCE REPORT
   2016/130,” “COMPANY INTELLIGENCE REPORT 2016/134,” “COMPANY



   1
     It should perhaps not be surprising that Defendants have cited a case for the opposite
   proposition for which it stands – after all, the present “Motion in Limine” appears to be for the
   opposite purpose of a typical Motion in Limine, which Black’s Law Dictionary defines as “A
   pretrial motion requesting court to prohibit opposing counsel from referring to or offering
   evidence on matters so highly prejuricial to moving party that curative instructions cannot
   prevent predispositional effect on jury.... Purpose of which motion is to avoid injection into trial
   of matters which are irrelevant, inadmissible and prejudicial....”
   2
     If Defendants would like to provide the jury with a copy of Buzzfeed’s article and the single
   relevant memo immediately before they begin their opening argument, Plaintiffs have no
   objection to their doing so.
                                                     2
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   INTELLIGENCE REPORT 2016/135,” and “COMPANY INTELLIGENCE REPORT
   2016/136”). Mr. Steele did not produce any memos in November of 2016.
           According to Mr. Steele and Fusion GPS, these sixteen separate memos (the “Pre-
   Election Memos”) constituted all of the memos that Mr. Steele wrote for Fusion GPS while
   Fusion was still employed by the DNC and the Hillary Clinton campaign. None of the Pre-
   Election Memos made any mention of Plaintiffs and none of the Pre-Election Memos are the
   subject of the present litigation.




                                                  3
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          On January 10, 2017, Buzzfeed published all 17 memos, which it acknowledged to be a
   “collection of memos written over a period of months.”
                                                Argument
          Plaintiffs first cite to eight cases that they suggest support their contention that the jury
   must consider the defamatory statements made in the December Memo in the context of all
   seventeen memos written by Mr. Steele over the course of seven months. None of the cited
   cases actually suggest anything of the sort. Instead, the cases stand for the general proposition
   that it is sometimes necessary to consider the defamatory statements in the context of the
   publication in which it is contained for the jury to be able to reach conclusions about the
   meaning of the defamatory words (for example, whether the words used should be seen in
   context as opinion or stated fact).
          Moreover, seven of the eight cases address factual scenarios in which the Court looked
   only at a single unified publication – a letter, a newspaper article, a magazine article, and a book
   – while the eight looked at a series of six articles “all of which allegedly contain defamatory
   statements.” Parsi v. Daioleslam, 595 F. Supp. 2d 99, 103 (D.D.C. 2009). See, also, Aronson v.
   Wiersman, 65 N.Y.2d 592, 594, 493 N.Y.S.2d 1006, 1007, 483 N.E.2d 1138, 1139 (1985)
   (defamation at issue contained in a single letter circulated to city counsel and sent to plaintiff);
   James v. Gannett Co., 40 N.Y.2d 415, 417, 386 N.Y.S.2d 871, 873, 353 N.E.2d 834, 836 (1976)
   (alleged defamatory statements contained in single newspaper article); Byrd v. Hustler
   Magazine, Inc., 433 So. 2d 593, 595 (Fla. 4th DCA 1983) (holding that alleged defamatory
   picture and accompanying caption had to be considered together); Brown v. Tallahassee
   Democrat, Inc., 440 So. 2d 588, 589 (Fla. 1st DCA 1983) (jury should consider picture used in
   newspaper article together with the article itself); Hoffman-Pugh v. Ramsey, 312 F.3d 1222, 1227
   (11th Cir. 2002) (both parties agreed that the Court should consider the an entire book about the
   murder of Jon-Benet Ramsey as the defamatory work. Court (and not a jury) found on a motion
   to dismiss that the passages concerning the plaintiff were not capable of a defamatory meaning
   even in isolation – and then noted that the remainder of the book made clear that the defendants
   were not accusing the plaintiff of having taken part in Jon-Benet’s murder); Chau v. Lewis, 935
   F. Supp. 2d 644, 661(S.D.N.Y. 2013), aff’d, 771 F.3d 118 (2d Cir. 2014) (where plaintiffs

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   alleged that 26 separate statements within the defendant’s book were defamatory, Court on
   summary judgment (and not a jury) considered the tenor of the book as a whole to determine
   whether a reasonable reader would believe that author was making factual statements or stating
   his opinion); Price v. Viking Penguin, Inc., 676 F. Supp. 1501, 1504 (D. Minn. 1988), aff’d, 881
   F.3d 1426 (8th Cir. 1989) (Court (and not a jury) considered the tone of book containing
   defamatory statements as a whole in determining if alleged defamatory statements were factual
   in nature or opinion).3
          Defendants next insist that an “analogous procedure” to the one Defendants advocate
   here (i.e., forcing the jury to read all seventeen memos prior to opening arguments) “was
   employed successfully in Masson v. New Yorker Magazine, Inc., 85 F.3d 1394 (9th Cir. 1996).”
   Defendants’ Motion, p. 3. More specifically, Defendants assert that, in Masson, the trial court
   determined that “the jury should be instructed to read the [alleged defamatory] article prior to
   hearing opening statements or receiving any other evidence. Accordingly, after the jury was
   selected, each juror was provided with a copy of the article and instructed to read it prior to the
   commencement of trial.” Id.
          If anything even remotely like this actually happened during the Masson trial, the opinion
   cited by Defendants certainly gives no hint of it.4 That is not to say that the Masson case is not



   3
     In their Motion, Defendants insist that the last three cases stand for the proposition that “courts
   and juries will even read entire books to understand the statements at issue in context.”
   Defendants’ Motion, p. 2 (emphasis added). As the Court can see, Defendants’ representation is
   not accurate.
   4
     In an abundance of caution, and because there are numerous decisions in the history of the
   Masson case, Plaintiffs’ counsel also reviewed the other decisions in the case to see whether
   Defendants’ claim could be supported by those opinions. Plaintiffs were unable to find any
   support for Defendants’ position in any of the other opinions throughout the history of the case
   (most of which were rulings on, and appeals from, summary judgment), including in the
   following decisions: (1) Masson v. New Yorker Magazine, Inc., 686 F.Supp. 1396 (N.D. Cal.
   1987) (ruling on summary judgment); (2) Masson v. New Yorker Magazine, Inc., 881 F.2d 1452
   (9th Cir. 1989) (appeal from ruling on summary judgment); (3) Masson v. New Yorker
   Magazine, 895 F.3d 1535 (9th Cir. 1990) (appellate decision as amended on denial of rehearing
   and rehearing en banc); (4) Masson v. New Yorker Magazine, 501 U.S. 496 (1991) (reversing
   and remanding Ninth Circuit affirmation of district court’s ruling on summary judgment); (5)
   Masson v. New Yorker Magazine, Inc., 960 F.2d 896 (9th Cir. 1992) (on remand from Supreme
   Court on district court’s ruling on summary judgment); and (6) Masson v. New Yorker Magazine,
   Inc., 832 F.Supp. 1350 (N.D. Cal. 1993) (rulings on post-trial motions, with no mention
   whatsoever as to pre-trial reading of defamatory article).
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   of some value here – it is, inasmuch as the Masson Court appears to have actually adopted a
   position diametrically opposed to the one advocated by Defendants.
           In Masson, the plaintiff, Jeffrey M. Masson, filed suit against The New Yorker magazine
   and one of its writers, Janet Malcolm. Masson alleged that Malcom misquoted Masson in five
   separate places in the article at issue. Id. at 1395-96. In addition to the actual article at issue in
   that case, Masson also wanted to introduce extensive excerpts from a book written by Malcolm,
   which was not alleged to be defamatory. Masson contended, however that the passages
   constituted admissions of wrongdoing and were relevant to Malcolm’s state of mind at the time
   she wrote the allegedly defamatory article. Id. at 1399. The trial court permitted Masson to
   introduce certain limited excerpts that it found to be directly relevant to the alleged defamatory
   article, but refused to allow Masson to introduce the remainder of the excerpts, explaining:
   “When we get into more, I’m concerned it’s being taken out of context.... The second concern I
   have is I would then have to have the jury read the whole book.” Id. In other words, despite
   plaintiff’s request, the court explicitly excluded the extraneous excerpts plaintiff sought to
   introduce because it did not want the jury to read them all. Moreover, at no point whatsoever in
   the decision is there any discussion about the jury being presented with the article, the book, or
   any other material prior to the commencement of the trial.
           Indeed, in a subsequent case, United States v. Schiff, 544 F. App'x 729, 731-32 (9th Cir.
   2013), the Ninth Circuit upheld a District Court’s decision not to allow the admission at trial of
   an entire book written by the defendant, citing the Masson case as standing for the proposition
   that the “district court properly refused to admit into evidence excerpts of book because jury
   cannot be expected to read a whole book, and excerpts would be time consuming, misleading,
   and confusing.” In short, whatever Defendants might have been reading, it wasn’t the Ninth
   Circuit’s decision in Masson. But, as the Ninth Circuit actually did in Masson, the Court here
   should reject Defendants’ attempt to force the jury to read sixteen largely irrelevant memos as to
   do so would be “time consuming, misleading, and confusing.”
           Finally, Defendants urge this Court to depart from the standard procedure of instructing
   the jury on the law only at the close of a case, insisting that (for some unstated reason), the jury
   in this case will be unable to do what the jurors in every other defamation case do – namely,
   understand and follow the law as instructed by the Court at the close of the trial. In support of
   this proposition, Defendants cite to a concurring opinion issued by Justice (then-Judge) Ruth

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   Bader Ginsburg in which Justice Ginsburg, in dicta, suggested that there were a myriad of
   different ways in which a Court might advance a jury’s understanding of the law in a complex
   defamation case, which included: giving the instructions in plain language rather than legal
   jargon, using “shorter, less complex, more active sentences,” allowing the jury to take into its
   deliberations written copies of the judge’s instructions, and giving instructions to the jury at any
   relevant point in the trial, from its commencement to its close. Tavoulareas v. Piro, 817 F.2d
   762, 807 (1987).
          Although the present case may be more high-profile than some, the issues that will
   ultimately be before the jury are no more complex than those presented in any defamation case
   and, accordingly, Plaintiffs do not believe that any special pretrial instructions are necessary or
   warranted (and, indeed, may actually serve to distract or confuse the jury before any evidence is
   heard).5 Ultimately, Plaintiffs recognize that it is the Court and not the litigants who dictate the
   conduct of the trial and the manner in which the jury is instructed. Plaintiffs are confident that
   the Court will instruct the jury when and how it deems best calculated to properly inform the jury
   on the relevant law.
                                               Conclusion
          For the reasons stated hereinabove, Defendants’ Motion in Limine No. 10 to Have the
   Jury Review the Article and Dossier and for the Court to Deliver Preliminary Instructions Prior
   to Opening Statements should be denied.




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    The undersigned would note that they are huge RBG fans and it pains them to disagree with
   Justice Ginsburg even to this limited extent.
                                                     7
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   Dated: November 13, 2018

   Respectfully Submitted:
    /s/ Evan Fray-Witzer
    Evan Fray-Witzer (pro hac vice)
    CIAMPA FRAY-WITZER, LLP
    20 Park Plaza, Suite 505
    Boston, Massachusetts 02116
    Telephone: 617-426-0000
    Facsimile: 617-423-4855
    Evan@CFWLegal.com

    /s/ Valentin Gurvits
    Valentin D. Gurvits (pro hac vice)
    Matthew Shayefar (Fla. Bar No. 0126465)
    BOSTON LAW GROUP, PC
    825 Beacon Street, Suite 20
    Newton Centre, Massachusetts 02459
    Telephone: 617-928-1804
    Facsimile: 617-928-1802
    vgurvits@bostonlawgroup.com
    matt@bostonlawgroup.com

    /s/ Brady J. Cobb
    Brady J. Cobb (Fla. Bar No. 031018)
    Dylan Fulop (Fla. Bar No. 123809)
    COBB EDDY, PLLC
    642 Northeast Third Avenue
    Fort Lauderdale, Florida 33304
    Telephone: 954-527-4111
    Facsimile: 954-900-5507
    bcobb@cobbeddy.com
    dfulop@cobbeddy.com

    Attorneys for Plaintiffs




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